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B1 (Official Form 1) (1/08)

United States Bankruptcy Court
Southern District of Indiana

Voluntary Petition

Name of Debtor (if individual, enter Last, First, Middle):
Leadford, Andrea Marion

Name of Joint Debtor (Spouse) (Last, First, Middle):

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

Andrea Marion Torrence

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete
EIN (if more than one, state all): 9242

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete
EIN (if more than one, state all):

Street Address of Debtor (No. & Street, City, State & Zip Code):
3902 North Park
Unit 3

Indianapolis, !N ZIPCODE 46205

Street Address of Joint Debtor (No. & Street, City, State & Zip Code):

| ZIPCODE

County of Residence or of the Principal Place of Business:
Marion

County of Residence or of the Principal Place of Business:

Mailing Address of Debtor (if different from street address)

ZIPCODE

Mailing Address of Joint Debtor (if different from street address):

| ZIPCODE

Location of Principal Assets of Business Debtor (if different from street address above):

| ZIPCODE

See Exhibit D on page 2 of this form. U.S.C. § 101(51B)

[1] Corporation (includes LLC and LLP) (_] Railroad
((] Partnership (_] Stockbroker
[_] Other (If debtor is not one of the above entities, (-] Commodity Broker
check this box and state type of entity below.) {_] Clearing Bank
(J Other

Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box.) the Petition is Filed (Check one box.)
(Check one box.) (_] Health Care Business [A Chapter 7 (] Chapter 15 Petition for
[A Individual (includes Joint Debtors) [] Single Asset Real Estate as defined in 11 (_] Chapter 9 Recognition of a Foreign

(J Chapter 11
([] Chapter 12
(J Chapter 13

Main Proceeding

(| Chapter 15 Petition for
Recognition of a Foreign
Nonmain Proceeding

Nature of Debts
(Check one box.)
MW Debts are primarily consumer [_] Debts are primarily

Tax-Exempt Entity
(Check box, if applicable.)
(_] Debtor is a tax-exempt organization under
Title 26 of the United States Code (the
Internal Revenue Code).

debts, defined in 11 U.S.C. business debts.
§ 101(8) as “incurred by an

individual primarily for a

personal, family, or house-

hold purpose.”

Filing Fee (Check one box)
_] Full Filing Fee attached

(_] Filing Fee to be paid in installments (Applicable to individuals only). Must
attach signed application for the court’s consideration certifying that the debtor
is unable to pay fee except in installments. Rule 1006(b). See Official Form
3A.

Filing Fee waiver requested (Applicable to chapter 7 individuals only), Must
attach signed application for the court’s consideration. See Official Form 3B.

Chapter 11 Debtors
Check one box:
[J Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
[_] Debtor is not a small business debtor as defined in 11 U.S.C. § LO1G1D).

Check if:

J Debtor’s aggregate noncontingent liquidated debts owed to non-insiders or
affiliates are less than $2,190,000.

Check all applicable boxes:

(JA plan is being filed with this petition

LJ Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

Statistical/Administrative Information

. THIRSPACE:WIS FOR

wi ge
[_] Debtor estimates that funds will be available for distribution to unsecured creditors. mf COURT USE ONLY
Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for™' = ~ ei et
distribution to unsecured creditors. “apf
Estimated Number of Creditors {=
oO oO O Oo O oO oO oO th
1-49 50-99 100-199 200-999 1,000- 5,001- 10,001- 25,001- 50,001-
5,000 10,000 25,000 50,000 100,000 “oO
Estimated Assets =
Oo OQ Oo O Oo Oo Oo O wba 9
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001  $500,000,001 More, z than ic ON
$50,000 $100,000 $500,000 $1 million $10 million to $50 million $100 million to $500 million to $1 billion $1 billion |-2 YY
Estimated Liabilities
Oo 6w 60 Oo 0 Oo O Oo O 0
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001  $500,000,001 More than
$50,000 $100,000 $500,000 $i million $10 million to $50 million $100 million to $500 million to $1 billion $1 billion

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B1 (Official Form 1) (1/08)

Page 2

Voluntary Petition
(This page must be completed and filed in every case)

Name of Debtor(s):
Leadford, Andrea Marion

Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)

Location Case Number: Date Filed:
Where Filed:Northern District Of Indiana 13-20611-KL. 03/05/2013
Location Case Number: Date Filed:
Where Filed:Southern District Of indiana 09-11586-JKC-13 08/10/2009

Pending Bankruptcy Case Filed by any Spouse, Partner or

Affiliate of this Debtor (If more than one, attach additional sheet)

(To be completed if debtor is required to file periodic reports (e.g., forms
10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is
requesting relief under chapter 11.)

[| Exhibit A is attached and made a part of this petition.

Name of Debtor: Case Number: Date Filed:

None

District: Relationship: Judge:
Exhibit A Exhibit B

(To be completed if debtor is an individual
whose debts are primarily consumer debts.)

I, the attorney for the petitioner named in the foregoing petition, declare
that I have informed the petitioner that [he or she] may proceed under
chapter 7, 11, 12, or 13 of title 11, United States Code, and have
explained the relief available under each such chapter. I further certify
that I delivered to the debtor the notice required by § 342(b) of the

Bankruptcy Code.

X

Signature of Attorney for Debtor(s)

Exhibit C

or safety?

Yes, and Exhibit C is attached and made a part of this petition.
No

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

my Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:
(0 Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

Information Regarding the Debtor - Venue
(Check any applicable box.)
wv Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

CO
O

Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
in this District, or the interests of the parties will be served in regard to the relief sought in this District.

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)
Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)

(Name of landlord or lessor that obtained judgment)

(Address of landlord or lessor)

Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

[1 Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
filing of the petition.

Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362()).

Date

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health

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B1 (Official Form 1) (1/08)

Page 3

Voluntary Petition
(This page must be completed and filed in every case)

Name of Debtor(s):
Leadford, Andrea Marion

Signatures

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this

petition is true and correct.

[If petitioner is an individual whose debts are primarily consumer debts

and has chosen to file under Chapter 7] I am aware that I may proceed

under chapter 7, 11, 12 or 13 of title 11, United State Code, understand

the relief available under each such chapter, and choose to proceed under

chapter 7.

[If no attorney represents me and no bankruptcy petition preparer signs

the petition] I have obtained and read the notice required by 11 U.S.C. §

342(b).

I request relief in accordance with the c

Code, specified Lo
Signature of Joint Debtor

in this petition.
[/ Andrea Marion Leadford
317 480-6948

$ifnature of Debtor /
Telephone Number (If not represented by attorney)
November 25, 2014

Date

ter of title 11, United States

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this
petition is true and correct, that I am the foreign representative of a debtor
in a foreign proceeding, and that I am authorized to file this petition.
(Check only one box.)

(1 I request relief in accordance with chapter 15 of title 11, United
States Code. Certified copies of the documents required by 11 U.S.C.
§ 1515 are attached.

Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is attached.

C

Signature of Foreign Representative

Printed Name of Foreign Representative

Date

Signature of Attorney*

Signature of Attorney for Debtor(s)

Printed Name of Attorney for Debtor(s)

Firm Name

Address

Telephone Number

Date
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attomey has no knowledge after an inquiry that the
information in the schedules is incorrect.

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this
petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11,
United States Code, specified in this petition.

X

Signature of Authorized Individual

Printed Name of Authorized Individual

Title of Authorized Individual

Date

Signature of Non-Attorney Petition Preparer

I declare under penalty of perjury that: 1) I am a bankruptcy petition
preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
compensation and have provided the debtor with a copy of this document
and the notices and information required under 11 U.S.C. §§ 110(b),
110(h) and 342(b); 3) if rules or guidelines have been promulgated
pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, I have given the debtor
notice of the maximum amount before preparing any document for filing
for a debtor or accepting any fee from the debtor, as required in that
section. Official Form 19 is attached.

Andrew J Detro

Printed Name and title, if any, of Bankruptcy Petition Preparer
y)
Social Security Number (If the bankruptcy petition preparer is not an individual, state the

Social Security number of the officer, principal, responsible person or partner of the
banknuptcy petition preparer.) (Required by 11 U.S.C. § 110.)

7102 Pendleton Pike, Suite 2
Address

Indianapolis, IN 46226

Xx JL fla.

Signature of Bankruptcy Betition Preparer or officer, principal, responsible person, or
partner whose social security number is provided above.

November 25, 2014

Date

Names and Social Security numbers of all other individuals who
prepared or assisted in preparing this document unless the bankruptcy
petition preparer is not an individual:

If more than one person prepared this document, attach additional
sheets conforming to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions
of title 11 and the Federal Rules of Bankruptcy Procedure may result
in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.

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B201 (12/08)

UNITED STATES BANKRUPTCY COURT

NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
OF THE BANKRUPTCY CODE

In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs
of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies
you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of
an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you
legal advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure
that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of
any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other),
and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single
copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the
court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies

With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before
the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone
or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States
trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget
and credit counseling agencies. Each debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Ayailable to Individual Consumer Debtors

Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case should be
permitted to proceed under chapter 7. If your income is greater than the median income for your state of residence and family
size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right
to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if
it does, the purpose for which you filed the bankruptcy petition will be defeated.

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel,
or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of
fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not
discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)
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B201 Page 2

1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.

2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending
upon your income and other factors. The court must approve your plan before it can take effect.

3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises
primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied
by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office
of the United States Trustee, the Office of the United States Attorney, and other components and employees of the Department
of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
local rules of the court.

Certificate of [Non-Attorney] Bankruptcy Petition Preparer
I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor this notice
required by § 342(b) of the Bankruptcy Code.

Andrew J Detro S44

Printed Name and title, if any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy
Address: petition preparer is not an individual, state
7102 Pendleton Pike, Suite 2 the Social Security number of the officer,

: : principal, responsible person, or partner of
indianapolis, IN_46226 the bankruptcy petition preparer.)

X KES mm <~ (Required by 11 U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
partner whose Social Security number is provided above.

Certificate of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read this notice.

Leadford, Andrea Marion x / h NL 4/25/2014
Printed Name(s) of Debtor(s) Signature of Debtor C7 [ Date
Case No. (if known) xX

Signature of Joint Debtor (if any) Date
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B6 Summary(Form 6- Summary) (12/07)

IN RE:

Leadford, Andrea Marion

United States Bankruptcy Court
Southern District of Indiana

Case No.

Debtor(s)

SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file

a case under chapter 7, 11, or 13.

Chapter 7

Debtor(s)

ATTACHED | NUMBER OF
NAME OF SCHEDULE (YES/NO) SHEETS ASSETS LIABILITIES OTHER
A - Real Property Yes 1|$ 0.00 :
B - Personal Property Yes 3/$ 11,905.70
C - Property Claimed as Exempt Yes 1}:
D - Creditors Holding Secured Claims Yes 1 14,904.00
E - Creditors Holding Unsecured Priority Yes 4
Claims (Total of Claims on Schedule E)
F - Creditors Holding Unsecured Yes 41 58,438.32|
Nonpriority Claims :
G - Executory Contracts and Unexpired
Yes 1
Leases
H - Codebtors Yes 1
I- Current Income of Individual Yes 1 4,439.45
Debtor(s)
J- Current Expenditures of Individual Yes 4 4,841.00

TOTAL

11,905.70

73,342.32

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Form 6 - Statistica-Summary((i2707)

United States Bankruptcy Court
Southern District of Indiana

IN RE: Case No.
Leadford, Andrea Marion Chapter 7

Debtor(s)

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §

101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

(_] Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any

information here.
This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

Line 20 )

Type of Liability Amount
Domestic Support Obligations (from Schedule E) 0.00
Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E) 0.00
Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
disputed or undisputed) 0.00
Student Loan Obligations (from Schedule F) 21,917.00
Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
Schedule E 0.00
Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F) 0.00

TOTAL 21,917.00
State the following:
Average Income (from Schedule I, Line 16) 1,439.45
Average Expenses (from Schedule J, Line 18) 1,841.00
Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C

1,960.83

State the following:

1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column

5,904.00

2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.

3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column

4. Total from Schedule F

5. Total of non-priority unsecured debt (sum of 1, 3, and 4)

0.00

58,438.32

64,342.32

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B6A (Official Forin-6A) (12/87)

IN RE Leadford, Andrea Marion Case No.
Debtor(s) (if known)

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

8 >
= &| CURRENT VALUE OF
a : DEBTOR'S INTEREST IN
AND NATURE OF DEBTOR'S 5 PROPERTY WITHOUT | AMOUNT OF SECURED
DESCRIPTION AND LOCATION OF PROPERTY INTEREST IN PROPERTY * a DEDUCTING ANY CLAIM
ZO | SECURED CLAIM OR
as EXEMPTION
None
TOTAL 0.00

(Report also on Summary of Schedules)
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BOB (Official Fora 6By (12/07)

IN RE Leadford, Andrea Marion Case No.
Debtor(s) (if known)

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
“C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

Z
S| CURRENT VALUE OF
N i & | DEBTOR'S INTEREST IN
TYPE OF PROPERTY 2 DESCRIPTION AND LOCATION OF PROPERTY FeO RNG ANY.
E Z 8| SECURED CLAIM OR
ag EXEMPTION
rE
1. Cash on hand. Cash on Hand 30.00
2. Checking, savings or other financial Indiana State Child Support (Pre-Paid) 0.70
accounts, certificates of deposit or Ke nk (Checkin 0.00
shares in banks, savings and loan, y Bank ( . 9)
thrift, building and loan, and Key Bank (Savings) 0.00
homestead associations, or credit PLS (Pre-Paid) 0.00
unions, brokerage houses, or
cooperatives.
3. Security deposits with public utilities, The Davn Group 575.00
telephone companies, landlords, and P Box 30173
others. Indianapolis, IN 46230
4. Household goods and furnishings, Living Room, Dining Room, Bedroom, 2 TV's, 2 DVD Players, 2,000.00
include audio, video, and computer Laptop Computer, Sony Playstation 2, Microsoft X-Box
equipment. (Residence)
5. Books, pictures and other art objects, X
antiques, stamp, coin, record, tape,
compact disc, and other collections or
collectibles.
6. Wearing apparel. Wearing Apparel: 1 Adult, 1 Child (Residence) 300.00
7. Furs and jewelry. x
8. Firearms and sports, photographic, Xx
and other hobby equipment.
9. Interest in insurance policies. Name Xx

insurance company of each policy and
itemize surrender or refund value of

each.

10. Annuities. Itemize and name each Xx
issue.

11. Interests in an education IRA as x

defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan as
defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately the
record(s) of any such interest(s). 11
U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or x
other pension or profit sharing plans.

Give particulars.

13. Stock and interests in incorporated x
and unincorporated businesses.
itemize.

14. Interests in partnerships or joint Xx

ventures. Itemize.

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B6B (Officia? Fort 6B) (12/07) - Cont.
IN RE Leadford, Andrea Marion

Case No.

Debtor(s)

SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)

(If known)

TYPE OF PROPERTY

mAzoZz

DESCRIPTION AND LOCATION OF PROPERTY

HUSBAND, WIFE, JOINT,
OR COMMUNITY

CURRENT VALUE OF
DEBTOR'S INTEREST IN
PROPERTY WITHOUT
DEDUCTING ANY
SECURED CLAIM OR
EXEMPTION

15.

18.

20.

21.

22.

23.

24.

25.

26.
27.
28.

29.

30.
31.
32.

Government and corporate bonds and
other negotiable and non-negotiable
instruments.

Accounts receivable.

Alimony, maintenance, support, and
property settlements in which the
debtor is or may be entitled. Give
particulars.

Other liquidated debts owed to debtor
including tax refunds. Give
particulars.

Equitable or future interest, life
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

Contingent and noncontingent
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

Other contingent and unliquidated
claims of every nature, including tax
refunds, counterclaims of the debtor,
and rights to setoff claims. Give
estimated value of each.

Patents, copyrights, and other
intellectual property. Give particulars.

Licenses, franchises, and other
general intangibles. Give particulars.

Customer lists or other compilations
containing personally identifiable
information (as defined in 11 U.S.C. §
101(41A)) provided to the debtor by
individuals in connection with
obtaining a product or service from
the debtor primarily for personal,
family, or household purposes.

Automobiles, trucks, trailers, and
other vehicles and accessories.

Boats, motors, and accessories.
Aircraft and accessories.

Office equipment, furnishings, and
supplies.

Machinery, fixtures, equipment, and
supplies used in business.

Inventory.
Animals.

Crops - growing or harvested. Give
particulars.

x «KK RK KOK

2006 Honda CRV (Residence)

9,000.00

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IN RE Leadford, Andrea Marion

SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)

Case No.

(If known)

0 continuation sheets attached

z
S| CURRENT VALUE OF
N gig | DEBTOR'S INTEREST IN
TYPE OF PROPERTY ° DESCRIPTION AND LOCATION OF PROPERTY = ee TE ACTING ANY. T
E 88] sECURED CLAIM OR
Se EXEMPTION
2o
33. Farming equipment and implements. xX
34. Farm supplies, chemicals, and feed. xX
35. Other personal property of any kind Xx
not already listed. Itemize.
TOTAL 11,905.70

(Include amounts from any continuation sheets attached.

Report total also on Summary of Schedules.)
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B6C (Official Form 6C) (12/07)
IN RE Leadford, Andrea Marion

Debtor(s)

Case No.

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemptions to which debtor is entitled under:

(Check one box)

C11 U.S.C. § 522(b)(2)
[M11 U.S.C. § 522(b)(3)

(if known)

(J Check if debtor claims a homestead exemption that exceeds $136,875.

Wearing Apparel: 1 Adult, 1 Child
(Residence)

CURRENT VALUE
DESCRIPTION OF PROPERTY SPECIFY LAW PROVIDING EACH EXEMPTION ee apron WITHOUT REDUCTING
EXEMPTIONS

SCHEDULE B - PERSONAL PROPERTY
Cash on Hand ICA §34-55-10-2(c)(3) 30.00 30.00
Indiana State Child Support (Pre-Paid) ICA §34-55-10-2(c)(3) 0.70 0.70
Living Room, Dining Room, Bedroom, 2 ICA §34-55-10-2(c)(2) 2,000.00 2,000.00
TV's, 2 DVD Players, Laptop Computer,
Sony Playstation 2, Microsoft X-Box
(Residence)

ICA §34-55-10-2(c)(2) 300.00 300.00

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BOD (Official Form 6D) (12/07)
IN RE Leadford, Andrea Marion

Case No.

Debtor(s)

(If known)

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H — Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.

[_] Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

be
g a Q
elo & IE) .| AMOUNT OF
CREDITOR'S NAME AND MAILING ADDRESS |e 5 DATE CLAIM WAS INCURRED, 3|S|2| CLAIM WITHOUT UNSECURED
INCLUDING ZIP CODE AND ACCOUNT NUMBER. ales NATURE OF LIEN, AND DESCRIPTION AND VALUE OF 2|5|2| DEDUCTING PORTION. IF ANY
(See Instructions Above.) a S 6 PROPERTY SUBJECT TO LIEN Pigle VALUE OF >
B)Ze 8 Z Al COLLATERAL
ao
-
x
ACCOUNT NO. 1000 10/2013 (Auto Loan) 14,904.00 5,904.00
Santander Consumer USA
PO Box 660633 2006 Honda CRV (Residence)
Dallas, TX 75266-0633
VALUE $ 9,000.00
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $ |
ACCOUNT NO.
VALUE $
Subtotal
0 continuation sheets attached (Total of this page) [$ 14,904.00}$ 5,904.00
Total
(Use only on last page) [$ 14,904.00/$ 5,904.00

(If applicable, report
also on Statistical
Summary of Certain
Liabilities and Related
Data.)

{Report also on
Summary of
Schedules.)
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BOE (Officiar Fortr 6E) (12/07)
IN RE Leadford, Andrea Marion Case No.
Debtor(s) (If known)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
"Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
may need to place an "X" in more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
the Statistical Summary of Certain Liabilities and Related Data.

[v{ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

[[] Domestic Support Obligations
Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11

U.S.C. § 507(a)(1).

[_] Extensions of credit in an involuntary case
Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

[_] Wages, salaries, and commissions
Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

[_] Contributions to employee benefit plans
Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

[_] Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

[_] Deposits by individuals
Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
were not delivered or provided. 11 U.S.C. § 507(a)(7).

(_] Taxes and Certain Other Debts Owed to Governmental Units
Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

[_] Commitments to Maintain the Capital of an Insured Depository Institution
Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

[] Claims for Death or Personal Injury While Debtor Was Intoxicated
Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
a drug, or another substance. 11 U.S.C. § 507(a)(10).

* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

0 continuation sheets attached
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BOF (Official Form 6F) (12/07)

IN RE Leadford, Andrea Marion Case No.
Debtor(s) (If known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 1 1 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

[_] Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

z
w{S m 5/8
;Z Z
CREDITOR'S NAME, MAILING ADDRESS olf DATE CLAIM WAS INCURRED AND a 6 a AMOUNT
INCLUDING ZIP CODE, AND ACCOUNT NUMBER. als CONSIDERATION FOR CLAIM. IF CLAIM IS 215 5 OF
(See Instructions Above.) a g 8 SUBJECT TO SETOFF, SO STATE 5 Y z CLAIM
Oise 3 zZ
°
s
=
ACCOUNT NO. 6123 10/2014 (Rent To Own)
Appliance Warehouse Of America
PO Box 660272
Dallas, TX 75266
119.84
ACCOUNT NO. 438 08/2012 (Utility)
AT&T
1101 S. Canal St. Unit 105
Chicago, IL 60607
388.00
ACCOUNT NO. Assignee or other notification for:
Enhanced Recovery Company AT&T
PO Box 23870
Jacksonville, FL 32241-3870
ACCOUNT NO. 6738 08/2011 (Rental)
Brandywine
8444 Rothbury Drive
Indianapolis, IN 46260
2,916.00
Subtotal
10 continuation sheets attached (Total of this page) |$ 3,423.84
Total
(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules and, if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.) |$

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BOF (Official Form 6F) (12/07) - Cont.
IN RE Leadford, Andrea Marion

Case No.

Debtor(s)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

(If known)

CREDITOR'S NAME, MAILING ADDRESS
INCLUDING ZIP CODE, AND ACCOUNT NUMBER.
(See Instructions Above.)

CODEBTOR
HUSBAND, WIFE, JOINT,
OR COMMUNITY

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM. IF CLAIM IS
SUBJECT TO SETOFF, SO STATE

CONTINGENT
UNLIQUIDATED
DISPUTED

ACCOUNT NO.

Federated Collection Bureau, Inc.
PO Box 1484
Norcross, GA 30091

Assignee or other notification for:
Brandywine

ACCOUNT NO. 62-16

Bright House Networks
3030 Roosevelt Ave
Indianapolis, IN 46218-3794

09/2014 (Utility)

602.30

ACCOUNT NO. 87

CNAC
1525 North Shadeland Avenue
Indianapolis, IN 46219

12/2007 (Auto Loan)

6,767.00

ACCOUNT NO. 49K08-0706-SC-4340

Concord Eagle Creek Homes
3125 Concord Court
Indianapolis, IN 46222

2007 (Rental)

1,040.00

ACCOUNT NO.

Wayne Township Small Claims Court
49K08-0706-SC-4340

5401 W. Washington St

Indianapolis, IN 46241

Assignee or other notification for:
Concord Eagle Creek Homes

ACCOUNT NO. 00

Duke Energy
PO Box 9001084
Louisville, KY 40290

08/2013 (Utility)

89.00

ACCOUNT NO.

Interstate Credit Collection
711 Coliseum Plaza Court
Winston-Salem, NC 27106

Assignee or other notification for:
Duke Energy

Sheet no. 1 of

10 continuation sheets attached to

Schedule of Creditors Holding Unsecured Nonpriority Claims

Subtotal
(Total of this page)

Total

(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical

Summary of Certain Liabilities and Related Data.)

$

8,498.30

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B6F (Official Forni 6F) (12707) - Cont.
IN RE Leadford, Andrea Marion

Case No.

Debtor(s)

(if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

CREDITOR'S NAME, MAILING ADDRESS
INCLUDING ZIP CODE, AND ACCOUNT NUMBER.
(See Instructions Above.}

CODEBTOR

HUSBAND, WIFE, JOINT,
OR COMMUNITY

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM. IF CLAIM IS
SUBJECT TO SETOFF, SO STATE

CONTINGENT
UNLIQUIDATED
DISPUTED

ACCOUNT NO. 49K02-1301-SC-0286

Eagle Accounts Group
PO Box 7012
Indianapolis, IN 46207

2012 (Medical)

607.00

ACCOUNT NO.

Decatur Township Of Marion County
49K02-1301-SC-0286

3730 South Foltz Street
Indianapolis, IN 46221

Assignee or other notification for:
Eagle Accounts Group

ACCOUNT NO. 3489

Eskenazi Health
720 Eskenazi Hospital
Indianapolis, IN 46202

10/2014 (Medical)

609.40

ACCOUNT NO. 9988

Eskenazi Medical Group
PO Box 637978
Cincinnati, OH 45263

01/2014 (Medical)

220.00

ACCOUNT NO. 89

First Premier Bank
PO Box 5524
Sioux Falls, SD 57117-5524

01/2011 (Credit Card)

641.00

ACCOUNT NO. 4185

First Premier Bank
PO Box 5524
Sioux Falls, SD 57117-5524

06/2007 (Credit Card)

421.00

ACCOUNT NO. 0318

Golds Gym
PO Box 2826
Columbus, GA 31902-2626

2009 (Gym Membership)

734.00

Sheet no. 2 of 10 continuation sheets attached to
Schedule of Creditors Holding Unsecured Nonpriority Claims

Subtotal
(Total of this page)

Total

(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical

Summary of Certain Liabilities and Related Data.)

$

3,232.40

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B6F (Officiai Form 6F) (12/07) - Cont.
IN RE Leadford, Andrea Marion Case No.

Debtor(s) (If known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

CREDITOR'S NAME, MAILING ADDRESS
INCLUDING ZIP CODE, AND ACCOUNT NUMBER.
(See Instructions Above.)

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM. IF CLAIM IS
SUBJECT TO SETOFF, SO STATE

CODEBTOR
HUSBAND, WIFE, JOINT,
OR COMMUNITY
CONTINGENT
UNLIQUIDATED
DISPUTED
g

ACCOUNT NO. Assignee or other notification for:
Golds Gym

Collection Recievables |
1835 Central Avenue
Augusta, GA 30904

ACCOUNT NO. 801 2006 (Auto Loan)

Indiana Finance
9601 South Innovation Drive Suite 680
Daleville, IN 47334

5,031.00

ACCOUNT NO. 9212 08/2011 (Library Fee's)

Indianapolis Marion County Library
2450 North Meridian Street
Indianapolis, IN 46208

215.89

ACCOUNT NO. 1586 06/2014 (Utility)

Indianapolis Power & Light
2102 North Illinois Street
Indianapolis, IN 46206

124.00

ACCOUNT NO. Assignee or other notification for:
Indianapolis Power & Light

Virtuoso Sourcing Group
3033 South Parker Road
Aurora, CO 80014-2919

ACCOUNT NO. 2071 09/2014 (NSF)

Key Bank
PO Box 93885
Cleveland, OH 44101

625.26

ACCOUNT NO. 2683 09/2014 (NSF)

Kroger
Department 86130
PO Box 1259
Oaks, PA 19456

79.46

Sheet no. 3 of 10 continuation sheets attached to Subtotal
Schedule of Creditors Holding Unsecured Nonpriority Claims (Total of this page) |$ 6,075.61

Total

(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.) |$

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B6F (Official Forni 6F) (12707) - Cont.
IN RE Leadford, Andrea Marion

Case No.

Debtor(s)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

(if known)

CREDITOR'S NAME, MAILING ADDRESS
INCLUDING ZIP CODE, AND ACCOUNT NUMBER.
(See Instructions Above.)

CODEBTOR
HUSBAND, WIFE, JOINT,
OR COMMUNITY

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM. IF CLAIM IS
SUBJECT TO SETOFF, SO STATE

CONTINGENT
UNLIQUIDATED
DISPUTED

ACCOUNT NO. 2683

Kroger
Department 86130
PO Box 1259
Oaks, PA 19456

09/2014 (NSF)

93.48

ACCOUNT NO. 49K03-1409-SC-005953

Lawrence Landing
6875 Faris Avenue
Indianapolis, IN 46226

2013 (Rental)

5,456.94

ACCOUNT NO.

Landman Beatty
PO Box 40960
indianapolis, IN 46240-0960

Assignee or other notification for:
Lawrence Landing

ACCOUNT NO.

Lawrence Township Small Claims Court
49K03-1409-SC-005953

4455 McCoy Street

Indianapolis, IN 46226

Assignee or other notification for:
Lawrence Landing

ACCOUNT NO, 363

Marion Superior Court
200 East Washington Street #W122
Indianapolis, IN 46204

2013 (Misc. Debt)

220.00

ACCOUNT NO.

Premiere Credit OFNA
2002 No Wellesley Bivd, Suite 100
Indianapolis, IN 46219

Assignee or other notification for:
Marion Superior Court

ACCOUNT NO. 16

Medical Payment Data
2424 £.55th St, Ste 100
Indianapolis, IN 46220

10/2011 (Medical)

1,195.00

Sheet no. 4 of

10 continuation sheets attached to

Schedule of Creditors Holding Unsecured Nonpriority Claims

Subtotal
(Total of this page)

Total

(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

$

6,965.42

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B6F (Official Fornr6F) (12707) '- Cont.
IN RE Leadford, Andrea Marion

Case No.

Debtor(s)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

(If known)

¥ é z ele
CREDITOR'S NAME, MAILING ADDRESS 2 E DATE CLAIM WAS INCURRED AND i 4 a AMOUNT
INCLUDING ZIP CODE, AND ACCOUNT NUMBER. a = CONSIDERATION FOR CLAIM. IF CLAIM IS gq 5 5 OF
(See Instructions Above.) Q B 8 SUBJECT TO SETOFF, SO STATE E o|4 CLAIM
5 < wz S z a
ao
>
c
ACCOUNT NO. 65 09/2013 (Medical)
Medical Payment Data
2424 E.55th St., Ste 100
Indianapolis, IN 46220
261.00
ACCOUNT NO. 73 09/2013 (Medical)
Medical Payment Data
2424 E.55th St., Ste 100
Indianapolis, IN 46220
368.00
ACCOUNT NO. Assignee or other notification for:
IMC Credit Services Medical Payment Data
6955 Hillsdale Court
Indianapolis, IN 46250
ACCOUNT NO. 59 02/2013 (Medical)
Medical Payment Data
2424 E.55th St., Ste 100
Indianapolis, IN 46220
556.00
ACCOUNT NO. Assignee or other notification for:
IMC Credit Services Medical Payment Data
6955 Hillsdale Court
Indianapolis, IN 46250
ACCOUNT NO. 46 09/2009 (Medical)
Medica! Payment Data
2424 E.55th St., Ste 100
Indianapolis, IN 46220
216.00
ACCOUNT NO. Assignee or other notification for:
IMC Credit Services Medical Payment Data
6955 Hillsdale Court
Indianapolis, IN 46250
Sheet no. 5of 10 continuation sheets attached to Subtotal
Schedule of Creditors Holding Unsecured Nonpriority Claims (Total of this page) |$ 1,401.00
Total
(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.) |$

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B6F (Official Form 6) (12707) - Cont.
IN RE Leadford, Andrea Marion

Case No.

Debtor(s)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

(If known)

CREDITOR'S NAME, MAILING ADDRESS
INCLUDING ZIP CODE, AND ACCOUNT NUMBER,
(See Instructions Above.)

CODEBTOR
HUSBAND, WIFE, JOINT,
OR COMMUNITY

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM. IF CLAIM IS
SUBJECT TO SETOFF, SO STATE

CONTINGENT
UNLIQUIDATED
DISPUTED

ACCOUNT NO. 5398

Medical Payment Data
2424 E.55th St., Ste 100
Indianapolis, IN 46220

09/2010 (Medical)

unknown

ACCOUNT NO.

GLA Collection Company
Department 002

PO Box 7728

Louisville, KY 40257

Assignee or other notification for:
Medical Payment Data

ACCOUNT NO. 49K07-0512-SC-005369

Pickwick Farms
59 Port O'Call Drive
Indianapolis, IN 46224

2005 (Rental)

2,000.00

ACCOUNT NO.

Duvall, Bloomer, Caldwell
233 Mc Crea, Suite 1100
Indianapolis, IN 46225

Assignee or other notification for:
Pickwick Farms

ACCOUNT NO.

Washington Township Small Claims Court
49K07-0512-SC-05369

5302 West Keystone Avenue

Indianapolis, IN 46220

Assignee or other notification for:
Pickwick Farms

ACCOUNT NO. 9251

PLS
800 Jorie Blvd
Oak Brook, IL 60523

08/22/2014 (Payday Loan)

600.00

ACCOUNT NO. 9408

Sallie Mae
PO Box 9635
Wilkes-Barre, PA 18773

1994 (Student Loan)

2,625.00

Sheet no. 6 of 10 continuation sheets attached to
Schedule of Creditors Holding Unsecured Nonpriority Claims

Subtotal

(Total of this page)

Total

(Use only on last page of the completed Schedule F. Report also on

the Summary of Schedules, and if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

$

5,225.00

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B6F (Officiat Form 6¥) (12707) - Cont.

IN RE Leadford, Andrea Marion

Case No.

Debtor(s)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

(If known)

(See Instructions Above.)

CREDITOR'S NAME, MAILING ADDRESS
INCLUDING ZIP CODE, AND ACCOUNT NUMBER.

CODEBTOR
HUSBAND, WIFE, JOINT,
OR COMMUNITY

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM. IF CLAIM IS
SUBJECT TO SETOFF, SO STATE

CONTINGENT
UNLIQUIDATED
DISPUTED

ACCOUNT NO. 9408

Sallie Mae
PO Box 9635
Wilkes-Barre, PA 18773

08/1994 (Student Loan)

4,886.00

ACCOUNT NO. 310

Sprint
6391 Sprint Parkway
Overland Park, KS 66251-4300

03/2014 (Utility)

901.00

ACCOUNT NO.

AFNI

Department 555

PO Box 4127
Concord, CA 94524

Assignee or other notification for:
Sprint

ACCOUNT NO.

West Asset Management
PO Box 2348
Sherman, TX 75091-2348

Assignee or other notification for:
Sprint

ACCOUNT NO. 585

Sprint
6391 Sprint Parkway
Overland Park, KS 66251-4300

01/2044 (Utility)

255.00

ACCOUNT NO.

Harvard Collection
4839 N. Elston Avenue
Chicago, IL 60630

Assignee or other notification for:
Sprint

ACCOUNT NO. 9644

Sprint
6391 Sprint Parkway
Overland Park, KS 66251-4300

42/2012 (Utility)

unknown

Sheet no. 7 of 10 continuation sheets attached to
Schedule of Creditors Holding Unsecured Nonpriority Claims

Subtotal

(Total of this page)

Total

(Use only on last page of the completed Schedule F. Report also on

the Summary of Schedules, and if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

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6,042.00

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BOF (Officiai Form 6¥) (12/07) - Cont.
IN RE Leadford, Andrea Marion

Case No.

Debtor(s)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

(If known)

CREDITOR’S NAME, MAILING ADDRESS

(See Instructions Above.)

INCLUDING ZIP CODE, AND ACCOUNT NUMBER.

CODEBTOR
HUSBAND, WIFE, JOINT,
OR COMMUNITY

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM. IF CLAIM IS
SUBJECT TO SETOFF, SO STATE

CONTINGENT
UNLIQUIDATED
DISPUTED

ACCOUNT NO.

AFNI

Department 555

PO Box 4127
Concord, CA 94524

Assignee or other notification for:
Sprint

ACCOUNT NO. 49K09-0807-SC-03868

Statewide Credit
6957 Hillsdale Court
Indianapolis, IN 46250

2008

774.00

ACCOUNT NO.

Franklin Township Small Claims Court
49K09-0807-SC-03868

4531 Independence

Indianapolis, IN 46203

Assignee or other notification for:
Statewide Credit

ACCOUNT NO. 1389

T-Mobile
PO Box 742596
Cincinnati, OH 45274

2012 (Utility)

707.00

ACCOUNT NO.

Midland Credit Management
8875 Aero Drive, Suite 200
San Diego, CA 92123

Assignee or other notification for:
T-Mobile

ACCOUNT NO. 2707

T-Mobile
PO Box 742596
Cincinnati, OH 45274

08/2013 (Utility)

416.00

ACCOUNT NO.

Convergent Outsourcing
800 Southwest 39th Street
Renton, WA 98057

Assignee or other notification for:
T-Mobile

Sheet no. 8 of

10 continuation sheets attached to

Schedule of Creditors Holding Unsecured Nonpriority Claims

Subtotal
(Total of this page)

Total

(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

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1,897.00

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BOF (OfficiaiFornr 6F) (12/07) - Cont.

IN RE Leadford, Andrea Marion

Case No.

Debtor(s)

(If known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

(See Instructions Above.)

CREDITOR'S NAME, MAILING ADDRESS
INCLUDING ZIP CODE, AND ACCOUNT NUMBER.

CODEBTOR
HUSBAND, WIFE, JOINT,
OR COMMUNITY

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM. IF CLAIM IS
SUBJECT TO SETOFF, SO STATE

CONTINGENT
UNLIQUIDATED
DISPUTED

ACCOUNT NO. 8360

T-Mobile
PO Box 629026
El Dorado Hills, CA 95762-9026

2014 (Utility)

198.75

ACCOUNT NO. 5900

The Courtyards At Kessler
3035 West 39th Street
Indianapolis, IN 46228

06/2010 (Rental)

199.00

ACCOUNT NO.

LB Gray
PO Box 44244
Indianapolis, IN 46244

Assignee or other notification for:
The Courtyards At Kessler

ACCOUNT NO.

National Credit Systems
PO Box 312125
Atlanta, GA 30349

Assignee or other notification for:
The Courtyards At Kessler

ACCOUNT NO. 503

U-Haul
2727 North Central Avenue
Phoenix, AZ 85004

06/2013 (Truck Rental)

56.00

ACCOUNT NO.

Focus Recievable Management
PO Box 725069
Atlanta, GA 31139

Assignee or other notification for:
U-Haul

ACCOUNT NO. 174

US Department Of Education
PO Box 4222
lowa City, IA 52244

01/2004 (Student Loan)

5,167.00

Sheet no. 9 of 10 continuation sheets attached to
Schedule of Creditors Holding Unsecured Nonpriority Claims

Subtotal
(Total of this page)

Total

(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical
‘ Summary of Certain Liabilities and Related Data.)

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5,620.75

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B6F (Officiai’ Forni 6F) (12/07) - Cont.
IN RE Leadford, Andrea Marion

Case No.

Debtor(s)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

(If known)

CREDITOR'S NAME, MAILING ADDRESS
INCLUDING ZIP CODE, AND ACCOUNT NUMBER.
(See Instructions Above.)

CODEBTOR
HUSBAND, WIFE, JOINT,
OR COMMUNITY

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM. IF CLAIM IS
SUBJECT TO SETOFF, SO STATE

CONTINGENT
UNLIQUIDATED
DISPUTED

ACCOUNT NO. 2022

US Department Of Education
PO Box 4222
lowa City, IA 52244

01/2004 (Student Loan)

4,086.00

ACCOUNT NO. 4511

US Department Of Education
PO Box 4222
lowa City, 1A 52244

01/2004 (Student Loan)

5,153.00

ACCOUNT NO. 7272

Wisconsin Electric
800 South Lynndale Drive
Appleton, WI 54914

2011 (Utility)

818.00

ACCOUNT NO.

Harris & Harris
111 West Jackson Boulevard, Suite 400
Chicago, IL 60604

Assignee or other notification for:
Wisconsin Electric

ACCOUNT NO.

ACCOUNT NO.

ACCOUNT NO.

Sheet no. 10 of 10 continuation sheets attached to

Schedule of Creditors Holding Unsecured Nonpriority Claims

Subtotal
(Total of this page)

Total

(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

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10,057.00

$

58,438.32

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B6G (Official Form 6G) (12/07)

IN RE Leadford, Andrea Marion Case No.
Debtor(s) (If known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

[_] Check this box if debtor has no executory contracts or unexpired leases.

DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.

NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
OF OTHER PARTIES TO LEASE OR CONTRACT

The Davn Group Year to year lease 10/2014 - 10/2015.
PO Box 30173
Indianapolis, IN 46230

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IN RE Leadford, Andrea Marion Case No.
Debtor(s) (if known)

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

[Vf Check this box if debtor has no codebtors.

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

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B6I (Official Fornr61y (12/07)
IN RE Leadford, Andrea Marion Case No.
Debtor(s) (If known)

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this form may differ from the current
monthly income calculated on From 22A, 22B, or 22C.

Debtor's Marital Status DEPENDENTS OF DEBTOR AND SPOUSE
Separated RELATIONSHIP(S): AGE(S):
Son 10
EMPLOYMENT: DEBTOR SPOUSE
Occupation Intake Work
Name of Employer John H. Bonner Center
How longemployed Since 09/2013
Address of Employer 9957 Crosspoint Blvd
Indianapolis, IN 46256

INCOME: (Estimate of average or projected monthly income at time case filed) DEBTOR SPOUSE
1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly) $ 1,733.33 $
2. Estimated monthly overtime $ $
3. SUBTOTAL Is 1,733.33 $ |
4. LESS PAYROLL DEDUCTIONS
a. Payroll taxes and Social Security $ 208.28 $
b. Insurance $ $
c. Union dues $ $
d. Other (specify) Garnishment $ 381.27 $
Garnishment Fee $ 4.33 $
5. SUBTOTAL OF PAYROLL DEDUCTIONS $ 593.88 $
6. TOTAL NET MONTHLY TAKE HOME PAY $ 1,139.45 $
7. Regular income from operation of business or profession or farm (attach detailed statement) $ $
8. Income from real property $ $
9. Interest and dividends $ $
10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
that of dependents listed above $ 271.00 $
11. Social Security or other government assistance
(Specify) Dependent Social Security $ 29.00 $
$ $
12. Pension or retirement income $ $
13. Other monthly income
(Specify) $ $
$ $
$ $
14. SUBTOTAL OF LINES 7 THROUGH 13 $ 300.00 $
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14) $ 1,439.45 $
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totais from line 15;
if there is only one debtor repeat total reported on line 15) $ 1,439.45
(Report also on S' y of Schedules and, if applicable, on

Statistical Summary of Certain Liabilities and Related Data)

17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
Income will increase by $385.60 once garnishment is stopped.
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B6J (Official Fora 63) (12/07)

IN RE Leadford, Andrea Marion Case No.
Debtor(s) (If known)

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income allowed
on Form22A or 22C.

[_] Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
expenditures labeled “Spouse.”

1. Rent or home mortgage payment (include lot rented for mobile home) $ 599.00
a. Are real estate taxes included? Yes No vy.
b. Is property insurance included? Yes___ No _Y_

2. Utilities:

a. Electricity and heating fuel $ 120.00
b. Water and sewer $ 45.00
c. Telephone $
d. Other Cell Phone $ 85.00
$
3. Home maintenance (repairs and upkeep) $
4. Food $ 550.00
5. Clothing $ 100.00
6. Laundry and dry cleaning $
7. Medical and dental expenses $ 100.00
8. Transportation (not including car payments) $ 100.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc. $
10. Charitable contributions $
11. Insurance (not deducted from wages or included in home mortgage payments)
a. Homeowner’s or renter’s $ 10.00
b. Life $ 20.00
c. Health $
d. Auto $ 112.00
e. Other $
$
12. Taxes (not deducted from wages or included in home mortgage payments)
(Specify) $
$
13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
a. Auto $
b. Other $
$
14. Alimony, maintenance, and support paid to others $
15. Payments for support of additional dependents not living at your home $
16. Regular expenses from operation of business, profession, or farm (attach detailed statement) $
17. Other $
$
$
18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
applicable, on the Statistical Summary of Certain Liabilities and Related Data. $ 1,841.00

19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
None

20. STATEMENT OF MONTHLY NET INCOME

a. Average monthly income from Line 15 of Schedule I $ 1,439.45
b. Average monthly expenses from Line 18 above $ 1,841.00

c. Monthly net income (a. minus b.) $ -401.55
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B6 Declaration (Official Form 6 - Declaration) (12/07)

IN RE Leadford, Andrea Marion Case No.
Debtor(s) (if known)

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of 24 sheets, and that they are

true and correct to the best of my knowledge, information, and belief. haw
Date: November 25, 2014 Signature! /| Jv Ler /
" ,

Andrea Marion Leadford

Debtor

Date: Signature:

Goint Debtor, if any)
[If joint case, both spouses must sign.]

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 1! U.S.C. § 110(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
any fee from the debtor, as required by that section.

Andrew J Detro > 4yy

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social Security No. (Required by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
responsible person, or partner who signs the document.

7102 Pendleton Pike, Suite 2
Indianapolis, IN 46226

Address
He November 25, 2014

Signature of Bankruptcy Petition Preparer Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the (the president or other officer or an authorized agent of the corporation or a

member or an authorized agent of the partnership) of the
(corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
schedules, consisting of sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.

Date: Signature:

(Print or type name of individual signing on behalf of debtor)
[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor. ]

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 US.C. §§ 152 and 3571.
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B7 (Official Form 7) (12/07)

United States Bankruptcy Court
Southern District of Indiana

IN RE: Case No.

Leadford, Andrea Marion Chapter 7
Debtor(s)

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
is combined. Ifthe case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
25. If the answer to an applicable question is "None," mark the box labeled None." If additional space is needed for the answer to any question,
use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

DEFINITIONS

"In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation, a partner, other than a limited.
partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

"Insider." The term “insider” includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

1. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,

[] including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

AMOUNT SOURCE
11,003.00 2012 Confort Inn

7,049.00 2013 Elwood Staffing, Work Smart, EAS, John H. Bonner Center
18,165.00 2014 JohnH. Bonner Center

2. Income other than from employment or operation of business

None State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the

[_] two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE
3,252.00 2012 Child Support

3,252.00 2013 Child Support

2,981.00 2014 Child Support
319.00 2012 Dependent Social Security
348.00 2013 Dependent Social Secuirty
319.00 2014 Dependent Social Security
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3. Payments to creditors
Complete a. or b., as appropriate, and c.

None gq Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other

WM debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

Nose } Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately

Ww preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
$5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
is filed, unless the spouses are separated and a joint petition is not filed.)

None ¢, Ail debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
iw who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

4. Suits and administrative proceedings, executions, garnishments and attachments

None a List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

None b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
MW the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

5, Repossessions, foreclosures and returns

None List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

6. Assignments and receiverships

None ag. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
iw (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
unless the spouses are separated and joint petition is not filed.)

None , List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

7. Gifts

None List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

8. Losses

None List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

9. Payments related to debt counseling or bankruptcy

None ist all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
[_] consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
of this case.

DATE OF PAYMENT, NAME OF AMOUNT OF MONEY OR DESCRIPTION
NAME AND ADDRESS OF PAYEE PAYOR IF OTHER THAN DEBTOR AND VALUE OF PROPERTY
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Bankruptcy Preparation Services 08/02/2014 355.00
Andrew J Detro

7102 Pendleton Pike Suite 2

Indianapolis, IN 46226

Petition Preparation 160.00; Debt Consolidation Analysis 45.00; Forms 40.00; Copying 30.00; Extra Work For Creditor
Listing 40.00, Means-Test 40.00

10. Other transfers

°
None a, List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

None , List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
[V{_ device of which the debtor is a beneficiary.

11. Closed financial accounts

None J ist all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise

WI transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

12. Safe deposit boxes

None List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

13. Setoffs

None List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

14, Property held for another person

None List all property owned by another person that the debtor holds or controls.

15. Prior address of debtor

None Tf debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
C] that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY
7101 Broadway Leadford, Andrea Marion 02/2012 - 04/2013
Indianapolis, IN 46410

315 Shelby Street Leadford, Andrea Marion 04/2013 - 07/2013
Shelbyville, IN 46176

7956 Porche Drive Leadford, Andrea Marion 2007 - 02/2012
Indianapolis, IN 46260

6838 David Court Leadford, Andrea M. 11/2013 - 10/2014
Apartment 6

Indianapolis, IN 46226

16. Spouses and Former Spouses

None Ifthe debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.
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17. Environmental Information
For the purpose of this question, the following definitions apply:

“Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
the cleanup of these substances, wastes or material.

“Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
debtor, including, but not limited to, disposal sites.

“Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
or similar term under an Environmental Law.

None g List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
iw potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the

Environmental Law.

None, List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
the governmental unit to which the notice was sent and the date of the notice.

None ¢, List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
W is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

18. Nature, location and name of business

None a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
Ww of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
preceding the commencement of this case.
If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
preceding the commencement of this case.
If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
preceding the commencement of this case.

None b, Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
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[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are true and correct.

Date: November 25, 2014 Signature 4

of Debtor (_/ han blir” Marion Leadford
Date: Signature Ase [I : x

of Joint Debtor

(if any) U*

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110¢h),
and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
any fee from the debtor, as required by that section.

Andrew J Detro A 4 Y

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social Security No. (Requirdd by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
responsible person, or partner who signs the document.

7102 Pendleton Pike, Suite 2
Indianapolis, IN 46226

Address
So November 25, 2014

Signature of Bankruptcy Petition Preparer Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

0 continuation pages attached

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 357].
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B8 (Official Form 8) (12/08)
United States Bankruptcy Court
Southern District of Indiana

IN RE: Case No.

Leadford, Andrea Marion Chapter 7
Debtor(s)

CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A — Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)

Property No. 1
Creditor’s Name: Describe Property Securing Debt:
Santander Consumer USA 2006 Honda CRV (Residence)

Property will be (check one):
f¥{Surrendered [Retained

If retaining the property, I intend to (check at least one):
[_] Redeem the property
[_] Reaffirm the debt
[_] Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f).

Property is (check one):
[_] Claimed as exempt [W{Not claimed as exempt

Property No. 2 (if necessary)

Creditor’s Name: Describe Property Securing Debt:

Property will be (check one):
[_]Surrendered [_] Retained

If retaining the property, I intend to (check at least one):
[_] Redeem the property
[_] Reaffirm the debt
[_] Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f).

Property is (check one):
[_] Claimed as exempt [[] Not claimed as exempt

PART B-— Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
additional pages if necessary.)

Property No. |
Lessor’s Name: Describe Leased Property: Lease will be assumed pursuant to
The Davn Group Year to year lease 10/2014 - 10/2015. 11 U.S.C. § 365(p)(2):
WfYes []No
Property No. 2 (if necessary)
Lessor’s Name: Describe Leased Property: Lease will be assumed pursuant to
11 U.S.C. § 365(p)(2):
L] Yes [J No

continuation sheets attached (if any)

I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease

Date: November 25, 2014

Signhdture of Debtor

Signature of Joint Debtor
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B19 (Officiat Fornr 19) (12/07)
United States Bankruptcy Court
Southern District of Indiana
IN RE: Case No.

Leadford, Andrea Marion Chapter 7
Debtor(s)

NOTICE TO DEBTOR BY NON-ATTORNEY BANKRUPTCY PETITION PREPARER

I am a bankruptcy petition preparer. I am not an attorney and may not practice law or give legal advice. Before preparing any document
for filing as defined in § 110(a)(2) of the Bankruptcy Code or accepting any fees, I am required by law to provide you with this notice
concerning bankruptcy petition preparers. Under the law, § 110 of the Bankruptcy Code (11 U.S.C. § 110), I am forbidden to offer you
any legal advice, including advice about any of the following:

- whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

- whether commencing a case under chapter 7, 11, 12, or 13 is appropriate;

- whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

- whether you will be able to retain your home, car, or other property after commencing a case under the Bankruptcy Code;
- the tax consequences of a case brought under the Bankruptcy Code;

- the dischargeability of tax claims;

- whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement with a creditor to reaffirm a
debt;

- how to characterize the nature of your interests in property or your debts; or
- bankruptcy procedures and rights.

In addition, under 11 U.S.C. § 110(h), the Supreme Court or the Judicial Conference of the United States may promulgate rules or
guidelines setting a maximum allowable fee chargeable by a bankruptcy petition preparer. As required by law, I have notified you of this
maximum allowable fee, if any, before preparing any document for filing or accepting any fee from you.

pd (a uly 11/25/2014 11/25/2014

Signature of Debtor Date Joint Debtor (if any) Date

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) Iam a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2)1 prepared the accompanying document(s)
listed below for compensation and have provided the debtor with a copy of the document(s) and the attached notice as required by 11 U.S.C. §§ 110(b),
110(h), and 342(b); and (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. $1 10(h) setting a maximum fee for services chargeable
by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or

accepting any fee from the debtor, as required by that section.
Cc
Andrew J Detro 544 }

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social Security No. (Required by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
responsible person, or partner who signs the document.

7102 Pendleton Pike, Suite 2
Indianapolis, IN 46226

Address
MS Fix November 25, 2014

Signature of Bankruptcy Petition Preparer Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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IN RE: Case No.
Leadford, Andrea Marion Chapter 7

xX

Andrew J Detro

United States Bankruptcy Court
Southern District of Indiana

Debtor(s)
DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER

Pursuant to 11 U.S.C. § 110(h), I declare under penalty of perjury that I am not an attorney or employee of an attorney, that I prepared or caused to be prepared one
or more documents for filing by the above-named debtor(s)in connection with this bankruptcy case, and that compensation paid to me within one year before the filing
of the bankruptcy petition, or agreed to be paid to me, for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
is as follows:

For document preparation services, I have agreed to accept... 66 eee nee $ 355.00
Prior to the filing of this statement I have received 20.0.0 ne eet en etn eee $ 355.00
Balance Due 20. occ cc ccc ccc ccc eee en nn nnn n een nen ee ee enn eterna $ 0.00

I have prepared or caused to be prepared the following documents (itemize):

Statement of Current Monthly Income and Means Test Calculation
Exhibit "D" to Voluntary Petition [Debtor]

Application for Waiver of Chapter 7 Filing Fee

Statement of Social Security Number(s)

Voluntary Petition

Notice to Individual Consumer Debtor

Summary of Schedules

Schedule A - Real Property

Schedule B - Personal Property

Schedule C - Property Claimed as Exempt

Schedule D - Creditors Holding Secured Claims

Schedule E - Creditors Holding Unsecured Priority Claims
Schedule F - Creditors Holding Unsecured NonPriority Claims
Schedule G - Executory Contracts and Unexpired Leases
Schedule H - Codebtors

Schedule | - Current Income of Individual Debtor(s)

Schedule J - Current Expenditures of Individual Debtor(s)
Declaration Concerning Debtor's Schedules

Statement of Financial Affairs

Chapter 7 Individual Debtor's Statement of Intention

Notice to Debtor by Non-Attorney Bankruptcy Petition Preparer
Disclosure of Compensation of Bankruptcy Petition Preparer
Verification of Creditor Matrix

and provided the following services:

The source of the compensation paid to me was: vf Debtor LJ Other (specify):

The source of compensation to be paid to me is: C] Debtor J Other (specify):

The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of the petition filed by the debtor(s) in this bankruptcy case.
To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy case except as listed below:

NAME: SSN:

— SOCIAL SECURITY NUMBER

Signature SGYY 41125/2014

Social Security number of bankruptcy Date

Printed name and title, if any, of Bankruptcy Petition Preparer
Address: 7102 Pendleton Pike, Suite 2
Indianapolis, IN 46226

petition preparer. (If bankruptcy petition
preparer is not an individual, state the
Social Security number of the officer,
principal, responsible person or partner of
the bankruptcy petition preparer.)

(Required by 11 U.S.C. § 110.)

A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedures may result in fines or imprisonment or both.
1LUS.C. § 110; 18 USC. § 156.
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United States Bankruptcy Court
Southern District of Indiana

IN RE: Case No.

Leadford, Andrea Marion Chapter 7
Debtor(s)

VERIFICATION OF CREDITOR MATRIX
The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.

Date: November 25, 2014 Signature: (ht yoy tall /

Andrea Marion Leadford Debtor

Date: Signature:

Joint Debtor, if any
